
PER CURIAM.
We grant rehearing, withdraw our June 11, 2008 opinion, and substitute the following decision.
The issue raised in this juvenile delinquency appeal is identical to the one raised in our recent decision in E.E. v. State, 7 So.3d 1140, 2009 WL 605399 (Fla. 4th DCA Mar. 11, 2009). As we did there, we reverse the disposition imposed in this case under the authority of E.A.R. v. State, 4 So.3d 614 (Fla.2009), and remand with instructions to hold a new disposition hearing complying with E.A.R. The court is free to require an updated PDR, and all parties should be allowed to present new evidence and argument for the ultimate disposition.
FARMER, HAZOURI and CIKLIN, JJ., concur.
